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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                 4:09CR3117
                                           )
             v.                            )
                                           )      MEMORANDUM AND ORDER
TRAVES RUSH, and MARCUS                    )
SHORT,                                     )
                                           )
                   Defendants.             )

       Defendant Rush has moved to continue the pretrial motion deadline currently
set for December 23, 2009. Filing No. 30. Defense counsel explains he needs
additional time to review discovery, confer with his client, and determine if pretrial
motions should be filed. Counsel for the government does not oppose defendant
Rush’s motion. The court finds the motion should be granted.

      IT IS ORDERED:

      1)     Defendant Rush’s unopposed motion to continue, (filing no. 30), is
             granted and the defendants’ pretrial motions and briefs shall be filed on
             or before January 6, 2010.

      2)     The ends of justice will be served by granting defendant Rush’s motion
             to continue the pretrial motion deadline, and outweigh the interests of the
             public and the defendants in a speedy trial, and the additional time
             arising as a result of the granting of the motion, the time between
             December 23, 2009 and January 6, 2010, shall be deemed excludable
             time in any computation of time under the requirements of the Speedy
             Trial Act, for the reason that the parties require additional time to
             adequately prepare the case, taking into consideration due diligence of
             counsel, the novelty and complexity of the case, and the fact that the
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          failure to grant additional time might result in a miscarriage of justice.
          18 U.S.C. § 3161(h)(7)(A) & (B).

    3)    The trial of this case remains set to commence on January 25, 2010
          before Judge Warren K. Urbom.

    DATED this 23rd day of December, 2009.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     United States District Judge




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